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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                 LAREDO DIVISION

JOSH LIMAS                                      §
                                                §       CIVIL ACTION NO.
Plaintiff                                       §
                                                §
VS.                                             §
                                                §
POPULOUS FINANCIAL GROUP, INC.                  §
                                                §
Defendant                                       §

                                        COMPLAINT

TO THE U.S. DISTRICT JUDGE:

        COMES NOW, Plaintiff JOSH LIMAS and brings this cause of action against

POPULOUS FINANCIAL GROUP, INC., (“POPULOUS”). POPULOUS FINANCIAL

GROUP, INC., owns, controls, manages, and rents the real estate, property, and

improvements in Laredo, Texas where a business named Ace Cash Express operates. Mr.

LIMAS respectfully shows that the Defendant’s real estate, property, and improvements

at the location are not accessible to individuals with mobility impairments and

disabilities, in violation of federal law.

                                             I. CLAIM

        1.      Mr. LIMAS, a person with a physical disability and mobility impairments,

brings this action for declaratory and injunctive relief, attorneys’ fees, costs, and

litigation expenses against Defendant for violations of Title III of the Americans with

Disabilities Act, 42 U.S.C. §§12181, et seq. (“ADA”), and its attendant regulations, the

Americans with Disabilities Act Accessibility Guidelines (“ADAAG”).

        2.      Defendant refused to provide Mr. LIMAS and others similarly situated

with sufficient ADA-compliant parking in the parking lot that serves the Ace Cash


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Express. The Laredo location does not provide an ADA-Compliant Van Accessible

disabled parking space. There is no side access aisle on the Disabled parking space. The

ADA requires the location to have two Disabled parking spaces. And the slope of the

ramp exceeds 1:12. Based on these facts, POPULOUS has denied Mr. LIMAS the ability

to enjoy the goods, services, facilities, privileges, advantages, and accommodations at

Ace Cash Express.



                             JURISDICTION AND VENUE

       3.      This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. §1331 and §1343(a)(3) & (a)(4) for violations of the Americans with Disabilities

Act of 1990, 42 U.S.C. §12101, et seq.

       4.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b), as the

events complained of occurred in Laredo, Texas where the POPULOUS business is

located.

                                         PARTIES

       5.      Plaintiff JOSH LIMAS is an Honorably-discharged and Disabled Veteran,

who served who served as an Army Infantry soldier in Afghanistan. Mr. Limas has

difficulty walking, is disabled, and has injuries to his shoulder, foot, and back. Mr.

LIMAS has significant mobility impairments and uses assistive devices for mobility. Mr.

Limas has a disability rating from the Veteran’s Administration. He is a “qualified

individual with a disability” within the meaning of ADA Title III.

       6.      Defendant POPULOUS FINANCIAL GROUP, INC., owns, manages,

controls, and leases the improvements and building where the Ace Cash Express is

situated. The address of Ace Cash Express is 2308 Guadalupe St, Laredo, TX 78043.


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The business is a place of public accommodation, operated by a private entity, whose

operations affect commerce within the meaning of Title III of the ADA.

       7.      Defendant POPULOUS FINANCIAL GROUP, INC., is a domestic

corporation whose headquarters is 300 E. John Carpenter Freeway, Ste. 900, Irving, TX

75062. Defendant can be served process via their Registered Agent: CT Corporation

System, 1999 Bryan St, Suite 600, Dallas, TX 75201.



                                        II. FACTS

       8.      Ace Cash Express is a business establishment and place of public

accommodation in Laredo, Texas. Ace Cash Express is situated on real estate, property,

and improvements owned, controlled, managed, and leased out by POPULOUS

FINANCIAL GROUP, INC.

       9.      Ace Cash Express is not accessible to disabled individuals because it has

zero ADA-Compliant Van Accessible parking spaces. The access aisle is less than 96”

wide. Furthermore, the ADA requires the location to have two disabled parking spaces –

whereas the location only has one. Lastly, the slope of the access ramp exceeds 1:12.

       10.     Pictures taken at the location prove this:




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Ace Cash Express in Laredo TX. Wide angle view of property. No Van Accessible
 space (must have 96” side access aisle, aisle cannot be in the path of traffic).




Ace Cash Express in Laredo TX. No Van Accessible space (must have 96” side access
 aisle, aisle cannot be in the path of traffic).




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Ace Cash Express in Laredo TX. No Van Accessible space (must have 96” side
 access aisle, aisle cannot be in the path of traffic).




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Ace Cash Express in Laredo TX. No Van Accessible space (must have 96” side
 access aisle, aisle cannot be in the path of traffic).



       11.     The Plaintiff went to ACE CASH EXPRESS property located at 2308

Guadalupe St, Laredo, TX 78043 in September of 2020.

       12.     In encountering and dealing with the lack of an accessible facility, the

Plaintiff experienced difficulty and discomfort. These violations denied the Plaintiff full

and equal access to facilities, privileges and accommodations offered by the Defendant.

Plaintiff has the intent to return to the Ace Cash Express.

       13.     Additionally, on information and belief, the Plaintiff alleges that the

failure to remove the barrier was intentional because: (1) this particular barrier is intuitive

and obvious; (2) the Defendant exercised control and dominion over the conditions at this


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location and, therefore, the lack of accessible facilities was not an “accident” because

Defendant intended this configuration; (3) Defendant has the means and ability to make

the change; and (4) the changes to bring the property into compliance are “readily

achievable.”

       14.     The Defendant’s Laredo location does not have the required number of

ADA parking spaces. With 26-50 parking spaces, Defendant must have two ADA-

compliant spaces including one ADA-compliant Van Accessible space (96” Wide with

96” Side Access Aisle). This space must be located close to the entrance of the business.

See pictures above, and Exhibit 1.

       15.     There are no Van Accessible Disabled Parking spaces at the Ace Cash

Express in Laredo, Texas. The location only has one disabled parking space (that lacks an

access aisle of 96”). The ADA requires the location to have two disabled parking spaces.

Furthermore, the slope of the access ramp exceeds 1:12.

       16.     The Americans with Disabilities Act (ADA), 42 U.S.C. §12101, has been

federal law for 30 years.



          III. CAUSE OF ACTION - VIOLATION OF THE AMERICANS
               WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12101


       17.     Plaintiff repleads and incorporates by reference, as if fully set forth again

herein, the allegations contained in all prior paragraphs of this complaint.

       18.     Under the ADA, it is an act of discrimination to fail to ensure that the

privileges, advantages, accommodations, facilities, goods and services of any place of

public accommodation is offered on a full and equal basis by anyone who owns, leases,

or operates a place of public accommodation. See 42 U.S.C. § 12182(a). Discrimination


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is defined, inter alia, as follows:

                 a.     A failure to make reasonable modifications in policies practices, or

        procedures, when such modifications are necessary to afford goods, services,

        facilities, privileges, advantages, or accommodations to individuals with

        disabilities, unless the accommodation would work a fundamental alteration of

        those services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).

                 b.     A failure to remove architectural barriers where such removal is

        readily achievable. 42 U.S.C. § 12182(b)(2) (A)(iv). Barriers are defined by

        reference to the ADAAG, found at 28 C.F.R., Part 36, Appendix “D.”

                 c.     A failure to make alterations in such a manner that, to the

        maximum extent feasible, the altered portions of the facility are readily accessible

        to and usable by individuals with disabilities, including individuals who use

        wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to

        the altered area and the bathrooms, telephones, and drinking fountains serving the

        altered area, are readily accessible to and usable by individuals with disabilities.

        42 U.S.C. § 12183(a)(2).

        19.    Pursuant to 28 C.F.R., Part 36, Appendix D (herein after “1991

Standards”), section 4.1.2, and 36 C.F.R., Part 1191, Appendix B (herein after “2010

Standards”), section 208.2, if a business provides between 26 and 50 parking spaces,

Defendant must have at least two ADA-compliant spaces including one ADA-compliant

Van Accessible space (96” Wide with 96” Side Access Aisle) near the business entrance.

See Exhibit 1.

        20.      Here, the Defendant did not provide a sufficient number of ADA-

compliant parking spaces in its parking lot, although doing so is easily and readily done,

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and therefore violated the ADA. This is a violation of the law and is discriminatory.



                               IV. RELIEF REQUESTED

Injunctive Relief

       21.     Mr. LIMAS will continue to experience unlawful discrimination as a

result of Defendant’s refusal to comply with the ADA. Injunctive relief is necessary so he

and all individuals with disabilities can access the Defendant’s property equally, as

required by law, and to compel Defendant to repave and restripe the parking lot to

comply with the ADA. Injunctive relief is also necessary to compel Defendant to keep

the property in compliance with federal law.



Declaratory Relief

       22.     Mr. LIMAS is entitled to declaratory judgment concerning Defendant’s

violations of law, specifying the rights of individuals with disabilities to access the goods

and services at the Defendant’s location.

       23.     The facts are undisputed and Defendant’s non-compliance with the ADA

has been proven through on-site photographs. Plaintiff proves a prima facie case of ADA

violations by the Defendant.



Attorneys’ Fees and Costs

       24.     Plaintiff is entitled to reasonable attorneys’ fees, litigation costs, and court

costs, pursuant to 42 U.S.C. §12205.



                               V. PRAYER FOR RELIEF


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          THEREFORE, Mr. LIMAS respectfully requests this Court award the following

relief:

          A. A permanent injunction, compelling Defendant to comply with the Americans

with Disabilities Act; and enjoining Defendant from violating the ADA and from

discriminating against Mr. LIMAS and those similarly-situated, in violation of the law;

          B. A declaratory judgment that Defendant’s actions are a violation of the ADA;

          C. Find that Mr. LIMAS is the prevailing party in this action, and order

Defendant liable for Plaintiff’s attorneys’ fees, costs, and litigation expenses; and,

          D. Grant such other and additional relief to which Plaintiff may be entitled in this

action.



    DATED: SEPTEMBER 30, 2020                   Respectfully,

                                        By:     /s/ R. Bruce Tharpe
                                                R. Bruce Tharpe

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                                                PLAINTIFF JOSH LIMAS




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